      Case 6:22-cv-00043-NKM-RSB Document 32 Filed 10/04/22 Page 1 of 1 Pageid#: 128
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Western District
                                                  __________ DistrictofofVirginia
                                                                          __________


 POWER HOME SOLAR, LLC D/B/A PINK ENERGY                          )
                             Plaintiff                            )
                                v.                                )      Case No.   6:22-CV-00043
          GENERAC POWER SYSTEMS, INC.                             )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Generac Power Systems, Inc.                                                                                         .


Date:          10/04/2022                                                                 s/Andrew Spadafora
                                                                                            Attorney’s signature


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